                       IN THE UNITED STATES DISTRICT COURT FOR
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )      NO. 3:02-cr-00053-06
                                               )      JUDGE CAMPBELL
 STEVE CORLEW                                  )


                                           ORDER


       Pending before the Court is a Superseding Petition (Doc. No. 991) alleging violations of

the Defendant’s Conditions of Supervised Release. The Court will hold a hearing on the Petition

on Monday, May 7, 2018, at 3:00 p.m.

       It is so ORDERED.


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                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




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